                                      Case 3:18-bk-01164-JAF                       Doc 23          Filed 04/18/18                 Page 1 of 3


 Fill in this information to identify the case:
 Debtor name Eihab H. Tawfik, M.D., P.A.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                               Check if this is an

 Case number (if known):                3:18-bk-01164-JAF                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Balboa Capital Corp.                                           Business Loan                                                                                           $109,087.72
 575 Anton Blvd.,
 12th Floor
 Costa Mesa, CA
 92626
 CCM Capital                                                    Credit Card                                                                                               $56,156.79
 Collection Mgmt
 115 Solar Street,
 Suite 100
 Syracuse, NY 13204
 Colonial Funding                                               Business Loan                                                                                           $211,935.00
 Network
 120 West 45th Street
 New York, NY 10036
 Corporation Service                                            Medical                                                                                                 $108,654.24
 Co.                                                            Equipment
 PO Box 2576
 Springfield, IL 62708
 Huntington Tech.                                               Business Loan                                                                                             $59,994.80
 Finance
 2285 Franklin Road
 Bloomfield Hills, MI
 48302
 IberiaBank                                                     Business Loan                                                                                           $141,472.17
 PO Box 53207
 Lafayette, LA
 70505-3207
 IberiaBank                                                     Business Loan                                                                                         $2,290,665.38
 PO Box 53207
 Lafayette, LA
 70505-3207
 LiftForward, Inc.                                              Business Loans                                                                                        $1,307,048.80
 c/o LF Collateral
 SPV I, LLC
 180 Maiden Lane,
 10th Floor
 New York, NY 10038


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 Debtor    Eihab H. Tawfik, M.D., P.A.                                                                        Case number (if known)         3:18-bk-01164-JAF
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Lysoft Media                                                   Business Loan                                                                                           $425,000.00
 c/o Colonial
 Funding Network
 120 West 45th Street
 New York, NY 10036
 Medicare Part B                                                                                                                                                      $1,091,693.78
 Cash Mgmt
 c/o First Coast Srvc
 Options
 PO Box 44141
 Jacksonville, FL
 32231-4141
 National Radiology                                             Renewed Service                                                                                         $204,466.50
 Sol Group                                                      Agreement
 101 Alycia Drive
 Richmond, KY
 40475
 Navitas Credit Corp.                                           Medical                                                                                                 $198,362.77
 P.O. Box 935204                                                Equipment
 Atlanta, GA
 31193-5204
 US Dept of Treasury                                            Overpayment of                                                                                                  $94.05
 Bureau of the Fiscal                                           Medicare claims
 Service
 PO Box 830794
 Birmingham, AL
 35283-0794
 US Dept of Treasury                                            Overpayment of                                                                                                  $32.07
 PO Box 979101                                                  Medicare claims
 St. Louis, MO
 63197-9000
 Yellowstone Capital,                                           Business Loan                                                                                           $209,850.00
 LLC
 30 Broad Street
 14th Floor, Ste. 1462
 New York, NY 10004
 Yes Funding                                                    Judgment                                                                                                $436,944.34
 Services, LLC
 c/o Douglas
 Robinson, Esq.
 122 East 42nd St.,
 Ste. 2112
 New York, NY 10168




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 )LOO LQ WKLV LQIRUPDWLRQ WR LGHQWLI\ WKH FDVH

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2IILFLDO )RUP 
'HFODUDWLRQ 8QGHU 3HQDOW\ RI 3HUMXU\ IRU 1RQ,QGLYLGXDO 'HEWRUV                                                                                                 

$Q LQGLYLGXDO ZKR LV DXWKRUL]HG WR DFW RQ EHKDOI RI D QRQLQGLYLGXDO GHEWRU VXFK DV D FRUSRUDWLRQ RU SDUWQHUVKLS PXVW VLJQ DQG VXEPLW WKLV
IRUP IRU WKH VFKHGXOHV RI DVVHWV DQG OLDELOLWLHV DQ\ RWKHU GRFXPHQW WKDW UHTXLUHV D GHFODUDWLRQ WKDW LV QRW LQFOXGHG LQ WKH GRFXPHQW DQG DQ\
DPHQGPHQWV RI WKRVH GRFXPHQWV 7KLV IRUP PXVW VWDWH WKH LQGLYLGXDO¶V SRVLWLRQ RU UHODWLRQVKLS WR WKH GHEWRU WKH LGHQWLW\ RI WKH GRFXPHQW
DQG WKH GDWH %DQNUXSWF\ 5XOHV  DQG 

:$51,1*  %DQNUXSWF\ IUDXG LV D VHULRXV FULPH 0DNLQJ D IDOVH VWDWHPHQW FRQFHDOLQJ SURSHUW\ RU REWDLQLQJ PRQH\ RU SURSHUW\ E\ IUDXG LQ
FRQQHFWLRQ ZLWK D EDQNUXSWF\ FDVH FDQ UHVXOW LQ ILQHV XS WR  RU LPSULVRQPHQW IRU XS WR  \HDUV RU ERWK  86&   
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                'HFODUDWLRQ DQG VLJQDWXUH


       , DP WKH SUHVLGHQW DQRWKHU RIILFHU RU DQ DXWKRUL]HG DJHQW RI WKH FRUSRUDWLRQ D PHPEHU RU DQ DXWKRUL]HG DJHQW RI WKH SDUWQHUVKLS RU DQRWKHU
       LQGLYLGXDO VHUYLQJ DV D UHSUHVHQWDWLYH RI WKH GHEWRU LQ WKLV FDVH

       , KDYH H[DPLQHG WKH LQIRUPDWLRQ LQ WKH GRFXPHQWV FKHFNHG EHORZ DQG , KDYH D UHDVRQDEOH EHOLHI WKDW WKH LQIRUPDWLRQ LV WUXH DQG FRUUHFW

                 Schedule A/B: Assets–Real and Personal Property 2IILFLDO )RUP $%
                 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO )RUP '
                 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO )RUP ()
                 Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO )RUP *
                 Schedule H: Codebtors 2IILFLDO )RUP +
                 Summary of Assets and Liabilities for Non-Individuals 2IILFLDO )RUP 6XP
                 $PHQGHG Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders 2IILFLDO )RUP 
                 2WKHU GRFXPHQW WKDW UHTXLUHV D GHFODUDWLRQ

       , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH IRUHJRLQJ LV WUXH DQG FRUUHFW

        ([HFXWHG RQ                                                  X
                                                                         6LJQDWXUH RI LQGLYLGXDO VLJQLQJ RQ EHKDOI RI GHEWRU

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                                                                         3ULQWHG QDPH

                                                                         'LUHFWRU DQG 3UHVLGHQW
                                                                         3RVLWLRQ RU UHODWLRQVKLS WR GHEWRU




2IILFLDO )RUP                                              'HFODUDWLRQ 8QGHU 3HQDOW\ RI 3HUMXU\ IRU 1RQ,QGLYLGXDO 'HEWRUV
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